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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re                                                          Chapter 11

    PARAGON OFFSHORE PLC                                           Case No. 16-10386 (CSS)

            Debtor1


    PARAGON LITIGATION TRUST,

                              Plaintiff,

            vs.

    NOBLE CORPORATION PLC, NOBLE          Adv. Proc. No.17-51882 (CSS)
    CORPORATION HOLDINGS LTD, NOBLE
    HOLDING INTERNATIONAL (LUXEMBOURG)
    S.A R.L., NOBLE FDR HOLDINGS LIMITED,
    ASHLEY ALMANZA, JULIE H. EDWARDS,
    GORDON T. HALL, JON A. MARSHALL,
    JAMES A. MACLENNAN, MARY P.
    RICCIARDELLO, JULIE J. ROBERTSON, AND
    DAVID WILLIAMS,

                              Defendants.



            CORPORATE DEFENDANTS’ ANSWER AND AFFIRMATIVE DEFENSES
                          TO ADVERSARY COMPLAINT




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       The Debtor in this case, along with the last four digits of the debtor’s federal tax identification number, is
       Paragon Offshore plc (in administration) (6017). The Debtor’s mailing address is 3151 Briarpark Drive, Suite
       700, Houston, Texas 77042. Neville Barry Kahn and David Philip Soden, each of Deloitte LLP, are the joint
       administrators of Paragon Offshore plc (in administration) (the “Joint Administrators”). The affairs, business
       and property of Paragon Offshore plc (in administration) are managed by the Joint Administrators.
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       Defendants Noble Corporation plc (“Noble”), Noble Corporation Holdings Ltd. (“Noble

Holdings Cayman”), Noble Corporation (“Noble Cayman”), Noble Holding International

(Luxembourg) S.à r.l (“NHIL 1”), Noble Holding International (Luxembourg NHIL) S.à r.l

(“NHIL 2”), Noble FDR Holdings Limited (“FDR,” and together with Noble, Noble Holdings

Cayman, Noble Cayman, NHIL 1, and NHIL 2, the “Corporate Defendants”) assert the following

answers and affirmative defenses to the adversary complaint dated December 15, 2017 (the

“Complaint”), upon knowledge with respect to themselves and their own acts and upon

information and belief with respect to all other matters.


                   STATEMENT PURSUANT TO LOCAL RULE 7012-1


       In submitting this Answer and Affirmative Defenses to Adversary Complaint, Corporate

Defendants do not consent to the entry of final orders or judgments by the Court if it is

determined that the Court, absent consent of the parties, cannot enter final orders or judgments

consistent with Article III of the United States Constitution.


       1.      Deny the allegations in Paragraph 1, except admit that Noble completed a Spin-

Off of Paragon as an independent company in August 2014, as described in the Form 10 issued

in connection with the transaction, to which the Court is respectfully referred for additional

information concerning the transaction’s form and structure.


       2.      Deny the allegations in Paragraph 2, except admit that Paragon filed for

bankruptcy on February 14, 2016, and respectfully refer the Court to the publicly reported prices

of Paragon securities.




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       3.      Deny the allegations in Paragraph 3, except admit that this action is brought by

the Paragon Litigation Trust, and respectfully refer the Court to the Litigation Trust Agreement

for its full and complete contents.


       4.      Deny the allegations in Paragraph 4, except admit that Petrobras and Pemex

accounted for more than 55% of Paragon’s contract backlog at the time of the Spin-Off, as

described in Exhibit 99.1 attached to the Form 8-K that Paragon filed with the U.S. Securities

and Exchange Commission on September 9, 2014, to which the Court is respectfully referred for

additional information concerning Paragon’s contract backlog.


       5.      Deny the allegations in the first sentence and third sentence of Paragraph 5. Deny

knowledge or information sufficient to form a belief as to the truth of the allegations in the

second sentence of Paragraph 5.


       6.      Deny the allegations in the third sentence of Paragraph 6, and deny knowledge or

information sufficient to form a belief as to the truth of the allegations as to the remainder of

Paragraph 6.


       7.      Deny the allegations in Paragraph 7, except admit that Noble maintained an

internal forecasting model, and respectfully refer the Court to that model for its full and complete

contents.


       8.      Deny the allegations in Paragraph 8, and respectfully refer the Court to the quoted

document for its full and complete contents.




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       9.      Deny the allegations in Paragraph 9, except admit that Noble's Board of Directors

retained Houlihan Lokey, and respectfully refer the Court to the Houlihan engagement letter for

a description of the complete scope of the engagement.               Corporate Defendants further

respectfully refer the Court to the model referenced in this paragraph, the projections that were

provided to Houlihan, and Houlihan's engagement letter for their full and complete contents.


       10.     Deny the allegations in Paragraph 10, except admit that Houlihan issued an

opinion to Noble's Board of Directors dated July 11, 2014 (the "Houlihan Opinion"), and

respectfully refer the Court to the Houlihan Opinion, Houlihan's presentation to Noble's Board of

Directors, and the model referenced in this paragraph for their full and complete contents.


       11.     Deny the allegations in Paragraph 11, and respectfully refer the Court to the

model referenced in this paragraph for its full and complete contents.


       12.     Deny the allegations in Paragraph 12, except respectfully refer the Court to the

Houlihan Opinion, Houlihan's presentation to Noble's Board of Directors, and the model

referenced in this paragraph for their full and complete contents.


       13.     Deny the allegations in Paragraph 13.


       14.     The allegations in Paragraph 14 are conclusions of law to which no response is

required. The allegations contain characterizations of provisions of law, the full and complete

provisions of which speak for themselves and to which the Court is respectfully referred.


       15.     The allegations in Paragraph 15 are conclusions of law to which no response is

required. The allegations contain characterizations of provisions of law, the full and complete

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provisions of which speak for themselves and to which the Court is respectfully referred. To the

extent a response is necessary, deny that the Court has authority to enter final orders or

judgments on any of the claims. By answering, the Corporate Defendants are not agreeing to

confer such authority on the Court.


       16.     No response is required. To the extent a response is required, the Corporate

Defendants incorporate by reference their Statement Pursuant to Local Rule 7012-1.


       17.     Admit the allegations in the first sentence and the second sentence of Paragraph

17. In response to the allegations in the third sentence of Paragraph 17, Corporate Defendants

respectfully refer the Court to the Plan for its full and complete contents. The allegations in the

third sentence and the fourth sentence of Paragraph 17 are conclusions of law to which no

response is required.


       18.     Admit the allegations in the first sentence and the second sentence of Paragraph

18. Deny the allegations in the third sentence of Paragraph 18. The allegations in the fourth

sentence of Paragraph 18 are conclusions of law to which no response is required. Insofar as

there are facts alleged in the fourth sentence of Paragraph 18, deny the allegations.


       19.     Admit the allegations in the first sentence of Paragraph 19. Deny the allegations

in the second sentence of Paragraph 19, except admit that Noble Holdings Cayman is a

subsidiary of Noble. The allegations in the third sentence of Paragraph 19 are conclusions of law

to which no response is required. Insofar as there are facts alleged in the third sentence of

Paragraph 19, deny the allegations.



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       20.     Admit the allegations in the first sentence of Paragraph 20. Deny the allegations

in the second sentence of Paragraph 20, except admit that Noble Cayman is a subsidiary of

Noble Holdings Cayman. The allegations in the third sentence of Paragraph 20 are conclusions

of law to which no response is required. Insofar as there are facts alleged in the third sentence of

Paragraph 20, deny the allegations.


       21.     Admit the allegations in the first sentence and the second sentence of Paragraph

21. Deny the allegations in the third sentence of Paragraph 21, except admit that NHIL 1 is a

subsidiary of Noble Cayman.       The allegations in the fourth sentence of Paragraph 21 are

conclusions of law to which no response is required. Insofar as there are facts alleged in the

fourth sentence of Paragraph 21, deny the allegations.


       22.     Admit the allegations in the first sentence and the second sentence of Paragraph

22. Deny the allegations in the third sentence of Paragraph 22, except admit that NHIL 2 is a

subsidiary of Noble Cayman.       The allegations in the fourth sentence of Paragraph 22 are

conclusions of law to which no response is required. Insofar as there are facts alleged in the

fourth sentence of Paragraph 22, deny the allegations.


       23.     Admit the first sentence and the second sentence of Paragraph 23. Deny the

allegations in the third sentence of Paragraph 23, except admit that FDR is a subsidiary of Noble

Cayman. The allegations in the fourth sentence of Paragraph 23 are conclusions of law to which

no response is required. Insofar as there are facts alleged in the fourth sentence of Paragraph 23,

deny the allegations.




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       24.     Admit that Mr. Almanza has been a member of Noble’s Board of Directors since

April 26, 2013. Admit the allegations in the second sentence of Paragraph 24. The allegations in

the third sentence of Paragraph 24 are conclusions of law to which no response is required.

Insofar as there are facts alleged in the third sentence of Paragraph 24, deny the allegations.


       25.     Deny the allegations in the first sentence of Paragraph 25. Admit the allegations

in the second sentence of Paragraph 25. The allegations in the third sentence of Paragraph 25 are

conclusions of law to which no response is required. Insofar as there are facts alleged in the

third sentence of Paragraph 25, deny the allegations.


       26.     Deny the allegations in the first sentence of Paragraph 26, except admit that

Lawrence J. Chazen was a member of Noble's Board of Directors from approximately 1994 until

June 10, 2014. Admit the allegations in the second sentence of Paragraph 26. The allegations in

the third sentence of Paragraph 26 are conclusions of law to which no response is required.

Insofar as there are facts alleged in the third sentence of Paragraph 26, deny the allegations.


       27.     Admit the allegations in the first sentence and the second sentence of Paragraph

27. The allegations in the third sentence of Paragraph 27 are conclusions of law to which no

response is required. Insofar as there are facts alleged in the third sentence of Paragraph 27,

deny the allegations.


       28.     Admit the allegations in the first sentence and the second sentence of Paragraph

28. The allegations in the third sentence of Paragraph 28 are conclusions of law to which no

response is required. Insofar as there are facts alleged in the third sentence of Paragraph 28,

deny the allegations.

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       29.     Admit the allegations in the first sentence and the second sentence of Paragraph

29. The allegations in the third sentence of Paragraph 29 are conclusions of law to which no

response is required. Insofar as there are facts alleged in the third sentence of Paragraph 29,

deny the allegations.


       30.     Deny the allegations in the first sentence of Paragraph 30, except admit that James

A. MacLennan served as Noble’s Chief Financial Officer from January 9, 2012, until February

26, 2016. Deny the allegations in the second sentence of Paragraph 30, except admit that James

A. MacLennan served as the sole member of Paragon’s Board of Directors from Paragon’s

formation until July 16, 2014. Deny the third sentence of Paragraph 30. The allegations in the

fourth sentence of Paragraph 30 are conclusions of law to which no response is required. Insofar

as there are facts alleged in the fourth sentence of Paragraph 30, deny the allegations.


       31.     Admit the allegations in the first sentence and the second sentence of Paragraph

31. The allegations in the third sentence of Paragraph 31 are conclusions of law to which no

response is required. Insofar as there are facts alleged in the third sentence of Paragraph 31,

deny the allegations.


       32.     Deny the allegations in the first sentence and the second sentence of Paragraph

32, except admit that Julie J. Robertson served as a member of Paragon’s Board of Directors

from the Spin-Off until September 21, 2015, and served as Noble’s Executive Vice President

from February 10, 2006, until January 2018. The allegations in the third sentence of Paragraph

32 are conclusions of law to which no response is required. Insofar as there are facts alleged in

the third sentence of Paragraph 32, deny the allegations.


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       33.     Deny the allegations in the first sentence and the second sentence of Paragraph

33, except admit that David W. Williams served as Noble’s Chairman, President, and Chief

Executive Officer from January 3, 2008, until January 2018. Deny the allegations in the third

sentence of Paragraph 33, except deny knowledge or information sufficient to form a belief as to

the truth of the allegations regarding David W. Williams’ active voter registration and active

driver’s license. Deny the allegations in the fourth sentence of Paragraph 33, except admit that

David W. Williams conducted certain business for Noble including in the United States. The

allegations in the fifth sentence of Paragraph 33 are conclusions of law to which no response is

required. Insofar as there are facts alleged in the fifth sentence of Paragraph 33, deny the

allegations.


       34.     Deny the allegations in Paragraph 34, except respectfully refer the Court to the

Form 10 issued in connection with the transaction for a complete and accurate description of

standard specification rigs and high specification rigs.


       35.     Admit the allegations in the first sentence of Paragraph 35. Deny the allegations

in the second sentence and the third sentence of Paragraph 35, and respectfully refer the Court to

the Form 10-K that Noble filed with the U.S. Securities and Exchange Commission on February

23, 2013, for a complete description of Noble’s business strategy and fleet composition.


       36.     Deny the allegations in Paragraph 36, and respectfully refer the Court to the Form

10-K that Noble filed with the U.S. Securities and Exchange Commission on February 23, 2013,

for a complete description of the industry and market conditions.




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       37.     Deny the allegations in Paragraph 37, except admit that Noble’s management had

certain communications with its Board in 2012, and respectfully refer the Court to the quoted

document for its full and complete contents.


       38.     Deny the allegations in Paragraph 38, except respectfully refer the Court to the

quoted documents for their full and complete contents.


       39.     Deny the allegations in the first sentence, the second sentence, the third sentence,

and the fourth sentence of Paragraph 39, except admit that Noble attempted to sell 21 standard

specification jackup rigs, Noble received an $815 million bid, and Noble did not sell the rigs at

that time. Deny knowledge or information sufficient to form a belief as to the truth of the

allegations related to lenders’ actions or decisions and Castle Harlan’s acquisition of assets from

Transocean Ltd. in the fifth sentence and the sixth sentence of Paragraph 39, and respectfully

refer the Court to the quoted documents for their full and complete contents.


       40.     Deny the allegations in Paragraph 40, except admit that Noble pursued a strategy

to spin off most of its standard specification rigs into a new, separately traded and managed

company and the formal name of the project was “Project Shark.”


       41.     Deny the allegations in Paragraph 41, except admit that Noble began exploring

strategic alternatives in 2012 with consultation from outside advisors, and respectfully refer the

Court to the quoted documents for their full and complete contents.


       42.     Deny the allegations in Paragraph 42, and respectfully refer the Court to the

quoted document for its full and complete contents.


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       43.     Deny the allegations in Paragraph 43, and respectfully refer the Court to the

quoted document for its full and complete contents.


       44.     Deny the allegations in Paragraph 44, except admit that Noble at one time

contemplated an initial public offering of the new company, and respectfully refer the Court to

the quoted document for its full and complete contents and to the Form S-1 filed on behalf of

Noble Spinco Limited with the U.S. Securities and Exchange Commission on December 20,

2013, for additional information regarding this transaction.


       45.     Deny the allegations in Paragraph 45, except admit that Noble worked on a

potential initial public offering in the latter part of 2013 and early 2014, and respectfully refer the

Court to the quoted document for its full and complete contents and to the publicly reported

prices of Noble securities.


       46.     Deny the allegations in Paragraph 46, except admit that Noble decided against

proceeding with an initial public offering in April 2014, and respectfully refer the Court to the

quoted document for its full and complete contents.


       47.     Deny the allegations in Paragraph 47, and respectfully refer the Court to the

quoted documents for their full and complete contents.


       48.     Deny the allegations in Paragraph 48.


       49.     Deny the allegations in Paragraph 49, except admit that Petrobras was a customer

and contract counterparty for Noble’s standard specification business, and respectfully refer the

Court to the relevant report of Noble’s contract backlog for its full and complete contents.

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       50.      Deny the allegations in Paragraph 50, and further respond by respectfully

referring the Court to the quoted document for its full and complete contents.


       51.      Deny the allegations in Paragraph 51.


       52.      Deny the allegations in Paragraph 52, except admit that the government of Brazil

initiated an investigation into Petrobras and respectfully refer the Court to the quoted documents

for their full and complete contents.


       53.      Deny the allegations in Paragraph 53, except admit that Noble believed that the

Noble Leo Segerius and Noble Roger Eason contracts were required to be extended.


       54.      Deny the allegations in Paragraph 54, and respectfully refer the Court to the

forecasts referenced in this paragraph for their full and complete contents.


       55.      Deny the allegations in the first sentence of Paragraph 55. Deny knowledge or

information sufficient to form a belief as to the truth of the allegations in the second sentence of

Paragraph 55.


       56.      Deny the allegations in Paragraph 56, except admit that, as of March 31, 2014,

Petrobras represented about 18% of the pro forma contract drilling backlog for 2014 that would

belong to Paragon.


       57.      Deny knowledge or information sufficient to form a belief as to the truth of the

allegations in the first sentence of Paragraph 57, except respectfully refer the Court to any

notices that Pemex provided to government regulators for their full and complete contents. Deny

the allegations in the second and third sentences of Paragraph 57, except admit that Barclays
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prepared a “Pemex Case” analysis and respectfully refer the Court to that analysis for its full and

complete contents. Deny the allegations in the fourth and fifth sentences of Paragraph 57, except

admit that Barclays prepared a Mexican jackup sales analysis, and respectfully refer the Court to

that analysis for its full and complete contents.


       58.     Deny the allegations in Paragraph 58, except admit that Pemex was Noble's sole

customer in Mexico during December 2013, and respectfully refer the Court to the quoted

documents for their full and complete contents.


       59.     Deny knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 59.


       60.     Deny the allegations in Paragraph 60, except admit that Paragon had publicly

disclosed that these three assets were cold-stacked, and respectfully refer the Court to the

referenced documents for their full and complete contents.


       61.     Admit that these three assets became part of the Paragon fleet and deny

knowledge or information sufficient to form a belief as to the truth of the allegations in the first

sentence of Paragraph 61. Deny the remaining allegations in Paragraph 61.


       62.     Deny the allegations in Paragraph 62.


       63.     Deny the allegations in Paragraph 63, and respectfully refer the Court to the

quoted document for its full and complete contents.




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       64.      Deny the allegations in Paragraph 64, except admit that Noble decided against

proceeding with the initial public offering in April 2014, and respectfully refer the Court to the

quoted documents for their full and complete contents.


       65.      Deny the allegations in Paragraph 65.


       66.      Deny the allegations in Paragraph 66, and respectfully refer the Court to the

quoted documents for their full and complete contents.


       67.      Deny the allegations in Paragraph 67, and respectfully refer the Court to the

quoted documents for their full and complete contents.


       68.      Deny the allegations in Paragraph 68, and respectfully refer the Court to the

quoted documents for their full and complete contents.


       69.      Deny the allegations in Paragraph 69, and respectfully refer the Court to the

quoted document for its full and complete contents.


       70.      Deny the allegations in the first sentence of Paragraph 70. Deny the allegations in

the second sentence of Paragraph 70, except respectfully refer the Court to any notices that

Pemex provided to government regulators for their full and complete contents. Deny knowledge

or information sufficient to form a belief as to the truth of the allegations in the third sentence of

Paragraph 70.


       71.      Deny the allegations in Paragraph 71, and respectfully refer the Court to the

quoted document for its full and complete contents.



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       72.     Deny the allegations in the first sentence and the second sentence of Paragraph

72. Deny knowledge or information sufficient to form a belief as to the truth of the allegations in

the third sentence of Paragraph 72.


       73.     Deny the allegations in the first sentence of Paragraph 73, and, in response to the

remaining allegations of Paragraph 73, respectfully refer the Court to the quoted documents for

their full and complete contents.


       74.     Deny the allegations in Paragraph 74, and respectfully refer the Court to the

quoted documents for their full and complete contents.


       75.     Deny the allegations in Paragraph 75, except admit that Noble provided certain

information to KPMG that referred to the "useful life" of certain rigs and respectfully refer the

Court to the quoted documents for their full and complete contents.


       76.     Deny the allegations in Paragraph 76, and respectfully refer the Court to the

quoted documents for their full and complete contents.


       77.     Deny the allegations in Paragraph 77.


       78.     Deny knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 78.


       79.     Deny the allegations in Paragraph 79, and respectfully refer the Court to the

quoted documents for their full and complete contents.




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       80.     Deny the allegations in Paragraph 80, and respectfully refer the Court to the

quoted document for its full and complete contents.


       81.     Deny the allegations in Paragraph 81, and respectfully refer the Court to the

quoted document for its full and complete contents


       82.     Deny the allegations in Paragraph 82, except admit that Randall Stilley was hired

in February 2014 to serve as Paragon’s Chief Executive Officer, and respectfully refer the Court

to Paragon’s public filings for a complete description of its management.


       83.     Deny the allegations in Paragraph 83, and respectfully refer the Court to the

quoted document for its full and complete contents.


       84.     Deny the allegations in Paragraph 84, and respectfully refer the Court to the

quoted document for its full and complete contents.


       85.     Deny the allegations in Paragraph 85, and respectfully refer the Court to the

quoted documents for their full and complete contents.


       86.     Deny the allegations in Paragraph 86, and respectfully refer the Court to the

quoted document for its full and complete contents.


       87.     Deny the allegations in Paragraph 87, and respectfully refer the Court to the

referenced document for its full and complete contents.


       88.     Deny the allegations in Paragraph 88, except admit that Noble completed a Spin-

Off of Paragon as an independent company in August 2014, as described in Form 10 issued in


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connection with the transaction, to which the Court is respectfully referred for additional

information concerning the transaction's form and structure, and that Houlihan issued an opinion

to Noble's Board of Directors, and respectfully refer the Court to the Houlihan Opinion for its

full and complete contents.


       89.     Deny the allegations in Paragraph 89, except admit that on April 1, 2013 Noble's

Board of Directors engaged Houlihan, and respectfully refer the Court to the Houlihan

engagement letter for its full and complete contents.


       90.     Deny the allegations in Paragraph 90, except admit that Houlihan issued an

opinion to Noble's Board of Directors, and respectfully refer the Court to the Houlihan Opinion

for its full and complete contents.


       91.     Deny the allegations in Paragraph 91, except admit that Houlihan issued an

opinion to Noble's Board of Directors, and respectfully refer the Court to the Houlihan Opinion

for its full and complete contents.


       92.     Deny the allegations in Paragraph 92.


       93.     Deny the allegations in Paragraph 93, except admit that Noble maintained an

internal forecasting model, and respectfully refer the Court to the forecasts referenced in this

paragraph for their full and complete contents.


       94.     Admit that Noble did not provide the full internal forecasting model referred to as

the "Master Model" to Houlihan. Deny the remaining allegations in Paragraph 94.




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       95.     Deny the allegations in Paragraph 95, except admit that Houlihan issued an

opinion and report to Noble's Board of Directors, and respectfully refer the Court to the Houlihan

Opinion and Houlihan's presentation to Noble's Board of Directors for their full and complete

contents.


       96.     Admit the allegations in the first sentence of Paragraph 96. Deny the allegations

in the second and third sentence of Paragraph 96, except refer the Court to the quoted document

for its full and complete contents.


       97.     Deny the allegations in Paragraph 97, and respectfully refer the Court to the

document referenced in this paragraph for its full and complete contents.


       98.     Deny the allegations in Paragraph 98, and respectfully refer the Court to the

document referenced in this paragraph for its full and complete contents.


       99.     Deny the allegations in Paragraph 99, and respectfully refer the Court to the

document referenced in this paragraph, the Senior Secured Term Loan Agreement dated as of

July 18, 2014, and the Senior Notes Indenture dated as of July 18, 2014, for their full and

complete contents.


       100.    Deny the allegations in Paragraph 100, and respectfully refer the Court to the

document referenced in this paragraph for its full and complete contents.


       101.    Deny the allegations in Paragraph 101.


       102.    Deny the allegations in Paragraph 102, and respectfully refer the Court to the

quoted document for its full and complete contents.
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       103.    Deny the allegations in Paragraph 103, except admit that the Noble Muravlenko,

Noble Lorris Bouzigard, and Noble Seillean were cold stacked at the time of the Spin-Off, and

respectfully refer the Court to the quoted document for its full and complete contents.


       104.    Deny the allegations in Paragraph 104, and respectfully refer the Court to the

quoted document for its full and complete contents.


       105.    Deny the allegations in Paragraph 105, and respectfully refer the Court to the

referenced documents for their full and complete contents.


       106.    Deny the allegations in Paragraph 106.


       107.    Deny the allegations in Paragraph 107.


       108.    Deny the allegations in Paragraph 108.


       109.    Deny the allegations in Paragraph 109, except admit that (1) the Spin-Off was

accomplished through a series of steps, including a pro rata distribution by Noble of all of the

ordinary shares of Paragon to Noble’s shareholders, (2) certain subsidiaries of Noble received

$1.71 billion in cash as settlement of intercompany notes issued in their favor, and (3) Paragon or

its subsidiaries issued and incurred $1.73 billion in new debt, consisting of $650 million in

secured term loans and $1.08 billion in senior unsecured notes, to finance the repayment of the

intercompany notes. Corporate Defendants further respond that these allegations omit material

elements of Paragon’s assets and capitalization.


       110.    Deny the allegations in Paragraph 110, except admit that (1) the assets and

liabilities that Paragon acquired in connection with the Spin-Off consisted of most of Noble’s
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standard specification drilling units and related assets, liabilities, and business; (2) Paragon’s

fleet consisted of five drillships, three semisubmersibles, thirty-four jackups, and one floating

production storage and offloading unit; (3) Paragon was also responsible for the Hibernia

platform operations offshore Canada; and (4) certain subsidiaries of Noble received

approximately $1.7 billion in cash as settlement of intercompany notes as consideration for the

business contributed to Paragon. Corporate Defendants further respond that these allegations

omit material elements of Paragon’s assets and capitalization.


         111.    Deny the allegations in Paragraph 111, except admit that Noble hired Baker Botts

LLP to prepare the referenced agreements, and respectfully refer the Court to the referenced

agreements for their full and complete contents.


         112.    Deny the allegations in Paragraph 112, and respectfully refer the Court to the

referenced documents for their full and complete contents.


         113.    Admit the allegations in Paragraph 113.


         114.    Admit that Paragon currently has its principal place of business in Houston,

Texas.    Deny knowledge or information sufficient to form a belief as to the truth of the

allegations in the second sentence and the third sentence of Paragraph 114, and respectfully refer

the Court to the referenced testimony for its full and complete contents.


         115.    Deny the allegations in Paragraph 115, except admit that Paragon securities began

trading on August 4, 2014, at $11.21 per share, and respectfully refer the Court to the publicly

reported prices of Paragon securities.


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       116.    Deny the allegations in Paragraph 116, and respectfully refer the Court to the

referenced documents for their full and complete contents.


       117.    Deny the allegations in Paragraph 117, and respectfully refer the Court to the

quoted document for its full and complete contents.


       118.    Deny knowledge or information sufficient to form a belief as to the truth of the

allegations in the first sentence and the second sentence of Paragraph 118, and respectfully refer

the Court to the quoted document for its full and complete contents. Deny the allegations in the

third sentence of Paragraph 118, and respectfully refer the Court to the publicly reported prices

of Paragon securities.


       119.    Deny knowledge or information sufficient to form a belief as to the truth of the

allegations in the first sentence of Paragraph 119, and respectfully refer the Court to the quoted

document for its full and complete contents. Deny the allegations in the second sentence of

Paragraph 119, and respectfully refer the Court to the quoted document for its full and complete

contents.


       120.    Deny knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 120, except admit that Paragon announced that it had taken a $929 non-

cash impairment charge related to three drillships in Brazil and the FPSO in the U.S. Gulf of

Mexico, and respectfully refer the Court to Paragon's public disclosures for their full and

complete contents.


       121.    Deny the allegations in Paragraph 121.


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       122.    Deny the allegations in Paragraph 122, except refer the Court to the underlying

written communications with Mr. Stilley on these issues for their full and accurate description.


       123.    Deny knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 123.


       124.    Deny knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 124, except respectfully refer the Court to any notices that Pemex

provided to government regulators for their full and complete contents.


       125.    Deny knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 125, except admit that crude oil prices plummeted after the Spin-Off,

and respectfully refer the Court to the relevant publicly reported prices of crude oil.


       126.    Deny knowledge or information sufficient to form a belief as to the truth of the

allegations in Paragraph 126, except admit that Paragon acquired Prospector Offshore Drilling.


       127.    Deny knowledge or information sufficient to form a belief as to the truth of the

allegations regarding Paragon's actual results after the Spin-Off. Deny the remaining allegations

in Paragraph 127, and respectfully refer the Court to the projections provided to Houlihan for

their full and complete contents.


       128.    Deny the allegations in Paragraph 128, and respectfully refer the Court to the

quoted document for its full and complete contents.


       129.    Admit the allegations in Paragraph 129.



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        130.    Repeat and reallege each and every response set forth in the foregoing Paragraphs

as if fully set forth herein.


        131.    Deny the allegations in Paragraph 131, except admit that Paragon and its

subsidiaries were wholly owned subsidiaries of Noble before the Spin-Off.


        132.    The allegations in Paragraph 132 are conclusions of law to which no response is

required. Insofar as there are facts alleged in Paragraph 132, deny the allegations in Paragraph

132.


        133.    Admit the allegations in Paragraph 133.


        134.    Deny the allegations in Paragraph 134.


        135.    The allegations in Paragraph 135 are conclusions of law to which no response is

required. Insofar as there are facts alleged in Paragraph 135, deny the allegations in Paragraph

135.


        136.    The allegations in Paragraph 136 are conclusions of law to which no response is

required. Insofar as there are facts alleged in Paragraph 136, deny the allegations in Paragraph

136.


        137.    The allegations in Paragraph 137 are conclusions of law to which no response is

required. Insofar as there are facts alleged in Paragraph 137, deny the allegations.


        138.    Repeat and reallege each and every response set forth in the foregoing Paragraphs

as if fully set forth herein.


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        139.    Deny the allegations in Paragraph 139, except admit that Paragon and its

subsidiaries were wholly owned subsidiaries of Noble before the Spin-Off.


        140.    The allegations in Paragraph 140 are conclusions of law to which no response is

required. Insofar as there are facts alleged in Paragraph 140, deny the allegations in Paragraph

140.


        141.    Admit the allegations in Paragraph 141.


        142.    Deny the allegations in Paragraph 142.


        143.    The allegations in Paragraph 143 are conclusions of law to which no response is

required. Insofar as there are facts alleged in Paragraph 143, deny the allegations in Paragraph

143.


        144.    The allegations in Paragraph 144 are conclusions of law to which no response is

required. Insofar as there are facts alleged in Paragraph 144, deny the allegations in Paragraph

144.


        145.    The allegations in Paragraph 145 are conclusions of law to which no response is

required. Insofar as there are facts alleged in Paragraph 145, deny the allegations.


        146.    Repeat and reallege each and every response set forth in the foregoing Paragraphs

as if fully set forth herein.


        147.    Deny the allegations in Paragraph 147, except admit that Paragon and its

subsidiaries were wholly owned subsidiaries of Noble before the Spin-Off.


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        148.    The allegations in Paragraph 148 are conclusions of law to which no response is

required. Insofar as there are facts alleged in Paragraph 148, deny the allegations in Paragraph

148.


        149.    Admit the allegations in Paragraph 149.


        150.    Deny the allegations in Paragraph 150.


        151.    Deny the allegations in Paragraph 151.


        152.    The allegations in Paragraph 152 are conclusions of law to which no response is

required. Insofar as there are facts alleged in Paragraph 152, deny the allegations in Paragraph

152.


        153.    The allegations in Paragraph 153 are conclusions of law to which no response is

required. Insofar as there are facts alleged in Paragraph 153, deny the allegations in Paragraph

153.


        154.    The allegations in Paragraph 154 are conclusions of law to which no response is

required. Insofar as there are facts alleged in Paragraph 154, deny the allegations.


        155.    Repeat and reallege each and every response set forth in the foregoing Paragraphs

as if fully set forth herein.


        156.    Deny the allegations in Paragraph 156, except admit that Paragon and its

subsidiaries were wholly owned subsidiaries of Noble before the Spin-Off.




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        157.    The allegations in Paragraph 157 are conclusions of law to which no response is

required. Insofar as there are facts alleged in Paragraph 157, deny the allegations in Paragraph

157.


        158.    Admit the allegations in Paragraph 158.


        159.    Deny the allegations in Paragraph 159.


        160.    Deny the allegations in Paragraph 160.


        161.    The allegations in Paragraph 161 are conclusions of law to which no response is

required. Insofar as there are facts alleged in Paragraph 161, deny the allegations in Paragraph

161.


        162.    The allegations in Paragraph 162 are conclusions of law to which no response is

required. Insofar as there are facts alleged in Paragraph 162, deny the allegations in Paragraph

162.


        163.    The allegations in Paragraph 163 are conclusions of law to which no response is

required. Insofar as there are facts alleged in Paragraph 163, deny the allegations.


        164.    Repeat and reallege each and every response set forth in the foregoing Paragraphs

as if fully set forth herein.


        165.    Deny the allegations in Paragraph 165, except admit that Paragon and its

subsidiaries were wholly owned subsidiaries of Noble before the Spin-Off.




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       166.    The allegations in Paragraph 166 are conclusions of law to which no response is

required. Insofar as there are facts alleged in Paragraph 166, deny the allegations in Paragraph

166.


       167.    Deny the allegations in Paragraph 167, except admit that Paragon Finance was a

wholly owned subsidiary of Paragon before the Spin-Off.


       168.    Deny the allegations in Paragraph 168.


       169.    Deny the allegations in Paragraph 169.


       170.    Deny the allegations in Paragraph 170, and respectfully refer the Court to the

notes for a full and complete statement of their contents.


       171.    Deny the allegations in Paragraph 171.


       172.    Deny the allegations in Paragraph 172.


       173.    Deny the allegations in Paragraph 173.


       174.    The allegations in Paragraph 174 are conclusions of law to which no response is

required. Insofar as there are facts alleged in Paragraph 174, deny the allegations in Paragraph

174.


       175.    The allegations in Paragraph 175 are conclusions of law to which no response is

required. Insofar as there are facts alleged in Paragraph 175, deny the allegations in Paragraph

175.



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        176.    The allegations in Paragraph 176 are conclusions of law to which no response is

required. Insofar as there are facts alleged in Paragraph 176, deny the allegations in Paragraph

176.


        177.    Repeat and reallege each and every response set forth in the foregoing Paragraphs

as if fully set forth herein.


        178.    Because the allegations in Paragraph 178 are not directed at Corporate Defendants

and are directed at defendants who have moved to compel arbitration, no response is required.


        179.    Because the allegations in Paragraph 179 are not directed at Corporate Defendants

and are directed at defendants who have moved to compel arbitration, no response is required.


        180.    Because the allegations in Paragraph 180 are not directed at Corporate Defendants

and are directed at defendants who have moved to compel arbitration, no response is required.


        181.    Because the allegations in Paragraph 181 are not directed at Corporate Defendants

and are directed at defendants who have moved to compel arbitration, no response is required.


        182.    Because the allegations in Paragraph 182 are not directed at Corporate Defendants

and are directed at defendants who have moved to compel arbitration, no response is required.


        183.    Because the allegations in Paragraph 183 are not directed at Corporate Defendants

and are directed at defendants who have moved to compel arbitration, no response is required.


        184.    Because the allegations in Paragraph 184 are not directed at Corporate Defendants

and are directed at defendants who have moved to compel arbitration, no response is required.


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        185.    Because the allegations in Paragraph 185 are not directed at Corporate Defendants

and are directed at defendants who have moved to compel arbitration, no response is required.


        186.    Because the allegations in Paragraph 186 are not directed at Corporate Defendants

and are directed at defendants who have moved to compel arbitration, no response is required.


        187.    Repeat and reallege each and every response set forth in the foregoing Paragraphs

as if fully set forth herein.


        188.    Because the allegations in Paragraph 188 are not directed at Corporate Defendants

and are directed at defendants who have moved to compel arbitration or to dismiss, no response

is required.


        189.    Because the allegations in Paragraph 189 are not directed at Corporate Defendants

and are directed at defendants who have moved to compel arbitration or to dismiss, no response

is required.


        190.    Because the allegations in Paragraph 190 are not directed at Corporate Defendants

and are directed at defendants who have moved to compel arbitration or to dismiss, no response

is required.


        191.    Because the allegations in Paragraph 191 are not directed at Corporate Defendants

and are directed at defendants who have moved to compel arbitration or to dismiss, no response

is required.




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        192.    Because the allegations in Paragraph 192 are not directed at Corporate Defendants

and are directed at defendants who have moved to compel arbitration or to dismiss, no response

is required.


        193.    Because the allegations in Paragraph 193 are not directed at Corporate Defendants

and are directed at defendants who have moved to compel arbitration or to dismiss, no response

is required.


        194.    Because the allegations in Paragraph 194 are not directed at Corporate Defendants

and are directed at defendants who have moved to compel arbitration or to dismiss, no response

is required.


        195.    Repeat and reallege each and every response set forth in the foregoing Paragraphs

as if fully set forth herein.


        196.    Because Corporate Defendants have moved to compel arbitration on this count

and because the allegations in Paragraph 196 are conclusions of law, no response is required. To

the extent that a response is required, and insofar as there are facts alleged in Paragraph 196,

deny the allegations in Paragraph 196.


        197.    Because Corporate Defendants have moved to compel arbitration on this count

and because the allegations in Paragraph 197 are conclusions of law, no response is required. To

the extent that a response is required, and insofar as there are facts alleged in Paragraph 197,

deny the allegations in Paragraph 197.




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       198.    Because Corporate Defendants have moved to compel arbitration on this count

and because the allegations in Paragraph 198 are conclusions of law, no response is required. To

the extent that a response is required, and insofar as there are facts alleged in Paragraph 198,

deny the allegations in Paragraph 198.


       199.    Because Corporate Defendants have moved to compel arbitration on this count

and because the allegations in Paragraph 199 are conclusions of law, no response is required. To

the extent that a response is required, and insofar as there are facts alleged in Paragraph 199,

deny the allegations in Paragraph 199.


                                       GENERAL DENIAL


       Corporate Defendants deny each and every allegation, statement and matter not expressly

admitted or qualified herein. Any allegations made in the headings contained in the Complaint

are denied. The prayer for relief is denied.


                          AFFIRMATIVE AND OTHER DEFENSES


       Without undertaking any burden of proof not otherwise assigned to them by law,

Corporate Defendants assert the following affirmative and other defenses with respect to the

claims for relief Plaintiff purports to assert in the Complaint:


                                         FIRST DEFENSE


       The Complaint fails to state a claim upon which relief can be granted.




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                                      SECOND DEFENSE


       Plaintiff lacks standing to bring some or all of its claims.


                                       THIRD DEFENSE


       Plaintiff’s claims that are subject to the arbitration and dispute resolution procedures set

forth in Article V of the Master Separation Agreement are barred because Plaintiff failed to

comply with those procedures.


                                      FOURTH DEFENSE


       As a separate affirmative defense to the Complaint, and to each purported claim for relief

thereof, Corporate Defendants submit that the purported claims for relief against Corporate

Defendants are barred, in whole or in part, because Corporate Defendants provided and Paragon

received reasonably equivalent value given in good faith in exchange for the alleged transfers in

the Complaint.    Accordingly, the alleged transfers described in the Complaint are neither

avoidable nor recoverable and the Complaint and the claims for relief asserted therein should be

dismissed.


                                        FIFTH DEFENSE


       Any payments Corporate Defendants received were for fair consideration and value, and

each challenged transfer was made for fair consideration and value.


                                        SIXTH DEFENSE


       Plaintiff’s claims are barred, in whole or in part, because the stated transfers satisfied an

antecedent debt for which Plaintiff is not entitled to avoid and recover.
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                                        SEVENTH DEFENSE


          Plaintiff’s claims are barred, in whole or in part, because Corporate Defendants took any

property transferred in good faith and for value, and Defendants may retain any interest

transferred or may enforce any obligation incurred, as the case may be, to the extent that

Corporate Defendants gave value to the Debtors in exchange for the transfers.


                                         EIGHTH DEFENSE


          Plaintiff’s claims are barred, in whole or part, because Defendants took for value, in good

faith, and without knowledge of the voidability of the transfers.


                                          NINTH DEFENSE


          Plaintiff’s claims are barred, in whole or in part, because the alleged transfers were

settlement payments that are not avoidable pursuant to the safe harbor provision of 11 U.S.C. §

546(e).


                                         TENTH DEFENSE


          Plaintiff’s claims are barred, in whole or in part, because the alleged transfers were made

in connection with a securities, commodity or forward contract that are not avoidable pursuant to

the safe harbor provision of 11 U.S.C. § 546(e).


                                       ELEVENTH DEFENSE


          Plaintiff’s damages, if any, were not proximately caused by Corporate Defendants.




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                                     TWELFTH DEFENSE


       The relief requested in Plaintiff’s claims cannot exceed the claims that were timely filed

and allowed in the Debtors’ bankruptcy proceeding, In re Paragon Offshore PLC, et al, U.S.B.C.

D. Del., Case No. 16-10386 (CSS), and not procured by the actions of Plaintiff or its counsel.


                                   THIRTEENTH DEFENSE


       In the event Corporate Defendants have any liability to Plaintiff, which is denied,

damages, if any, are subject to reduction by Corporate Defendants' rights of set-off.


                                  FOURTEENTH DEFENSE


       In the event Corporate Defendants have any liability to Plaintiff, which is denied,

damages, if any, are subject to reduction by the doctrine of recoupment.


                                    FIFTEENTH DEFENSE


       Plaintiff’s claims are barred, in whole or in part, to the extent that any recovery by

Plaintiff from Corporate Defendants would constitute an unlawful double recovery or unjust

enrichment.


                                    SIXTEENTH DEFENSE


       Plaintiff’s claims are barred, in whole or in part, by the Paragon Debtors’ discharge in

bankruptcy.


                                  SEVENTEENTH DEFENSE


       Plaintiff’s claims are barred, in whole or in part, by the doctrine of waiver.

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                            EIGHTEENTH DEFENSE


Plaintiff’s claims are barred, in whole or in part, by the doctrine of acquiescence.


                            NINETEENTH DEFENSE


Plaintiff’s claims are barred, in whole or in part, by the doctrine of equitable estoppel.


                             TWENTIETH DEFENSE


Plaintiff’s claims are barred, in whole or in part, by the doctrine of judicial estoppel.


                           TWENTY-FIRST DEFENSE


Plaintiff’s claims are barred, in whole or in part, by the doctrine of ratification.


                         TWENTY-SECOND DEFENSE


Plaintiff’s claims are barred, in whole or in part, by the doctrine of unclean hands.


                          TWENTY-THIRD DEFENSE


Plaintiff’s claims are barred, in whole or in part, by the doctrine of in pari delicto.


                         TWENTY-FOURTH DEFENSE


Plaintiff’s claims are barred, in whole or in part, by the doctrine of law of the case.


                           TWENTY-FIFTH DEFENSE


Plaintiff’s claims are barred, in whole or in part, by the doctrine of res judicata.


                           TWENTY-SIXTH DEFENSE

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       Plaintiff’s claims are barred, in whole or in part, by the doctrine of laches.


                               TWENTY-SEVENTH DEFENSE


       Plaintiff’s claims are barred, in whole or in part, by the doctrine of collateral estoppel.


                                TWENTY-EIGHTH DEFENSE


       Plaintiff’s claims are barred, in whole or in part, by the doctrine of estoppel.


                                 RESERVATION OF RIGHTS


       Corporate Defendants presently have insufficient knowledge or information upon which

to form a belief as to whether there may be other, as yet unstated, defenses and/or affirmative

defenses available to them, and therefore expressly reserve the right to (1) amend or supplement

their Answer, defenses, affirmative defenses and all other pleadings, and (2) assert any and all

additional defenses and/or affirmative defenses under any applicable federal and state law in the

event that discovery indicates such defenses and/or affirmative defenses would be appropriate.


                                    PRAYER FOR RELIEF


       Wherefore, the Corporate Defendants respectfully request that the claims against them be

dismissed together with such other relief as the Court deems proper and just.




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Dated: February 15, 2018        Respectfully Submitted,

Wilmington, Delaware

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